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                                                                                                             JUDGE MARRERO
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   Honorable Victor Marrero
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

                       RE:       United States v. District Council of the
                                 United Brotherhood of Carpenters, 90 Civ. 5722 (VM)

   Dear Judge Marrero:

           As referenced in our meeting in Chambers on March 26, 2018, enclosed please find a
   courtesy copy of a letter sent in my capacity as the Independent Monitor ("IM") of the District
   Council of New York City and Vicinity of the United Brotherhood of Carpenters and Joiners of
   America (the "District Council"). On January 26, 2018, the Members Voice Slate of candidates,
   who were defeated in the December 2017 District Council Officer election wrote to the United
   Brotherhood of Carpenters and Joiners of America ("UBC") seeking to appeal my "certification
   of the [December 2017] election results" (the "January 26th Letter," a copy of which is also
   enclosed). As the UBC stated in their February 20, 2018 response, my office has exclusive
   jurisdiction over the election under the Court-approved 2017 Election Rules, dismissed their
   appeal, and referred the matter for my consideration.

            Despite the Members Voice Slate's failure to follow the election rules and formally file a
   protest with my office (as they had previously done on November 30, 2017, in which they raised
   other claims),(see 2017 Election Rules at Section 6 (1)), I considered their complaints, conducted
   a full investigation, and reached the conclusions contained in the enclosed letter.

           I would also note that the Members Voice Slate properly appealed my ruling on their
   November 30, 2017 protest to Your Honor pursuant to the election rules. So you are aware in
   connection with the potential timing of Your Honor's ruling on that appeal, with the completion
   of this investigation into the Members Voice Slate's January 26th complaints, I no longer have
   any investigations pending with respect to the 201 7 election.




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 Honorable Victor Marrero
 April 25, 2018
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       Should you require any additional information, please do not hesitate to notify me at
 Your Honor's convenience.




            The Clerk of Court is directed to enter into the public record
            of this acti.Qg_lhe letter above sub,itted to the Co,Prt by
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            SO ORDERED.




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